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  6
                          UNITED STATES DISTRICT COURT
  7                      CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
  8
  9   CYNTHIA JOAN JESTER,                   ) Case No.: 2:20-cv-09115-PVC
                                             )
 10                                          )
                   Plaintiff,                )
 11                                          )
            vs.                              )
 12                                          )      ORDER OF DISMISSAL
      KILOLO KIJAKAZI,                       )
 13                                          )
      Acting Commissioner of Social
                                             )
 14   Security,1                             )
                                             )
 15                                          )
                   Defendant.                )
 16
 17         The above captioned matter is dismissed with prejudice, each party to bear

 18   its own fees, costs, and expenses.

 19         IT IS SO ORDERED.

 20   DATE: November 4, 2021
 21
                                      ___________________________________
 22                                   HON. PEDRO V. CASTILLO
                                      UNITED STATES MAGISTRATE JUDGE
 23
 24
      1
 25    Kilolo Kijakazi, Acting Commissioner of the Social Security Administration, is
      substituted for her predecessor originally named in the Complaint. See 42 U.S.C.
 26   § 405(g); Fed. R. Civ. P. 25(d).

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